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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO: 92-06020-UNGARO


  UNITED STATES OF AMERICA,

              Plaintiff,
  v.

  RODNEY MATTHEWS,

              Defendant.
  _________________________________/

                            NOTICE OF FILING EXHIBIT I

  The defendant, Rodney Matthews, hereby files the attached exhibit I as part of

  Matthews’ Unopposed Motion for Compassionate Release (DE 527).



                                        Respectfully submitted,


                                        MICHAEL CARUSO
                                        FEDERAL PUBLIC DEFENDER


                                  By:   s/Timothy Day
                                        Timothy Day
                                        Assistant Federal Public Defender
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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on April 1, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                         By: s/Timothy Day




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